          Case 1:23-cv-01922-CM Document 1 Filed 03/06/23 Page 1 of 11




IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


 POQUELIN, S.A. DE C.V.,                              Case No. 1:23-cv-01922


                             Plaintiff,               COMPLAINT

                       v.

  MTV NETWORKS LATIN AMERICA, INC.,

                            Defendant.




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                                                -1-
              Case 1:23-cv-01922-CM Document 1 Filed 03/06/23 Page 2 of 11




                                              INTRODUCTION



         1.       Plaintiff Poquelin, S.A. DE C.V. (“Poquelin”) is a Mexico based production

company headed by its principal, Fernando Kalife, a noted director, screenwriter, and producer.

Poquelin is the owner and producer of the documentary series “Mexico: Campeon del Mundo”

(the “Series”). The Series is a documentary series that chronicles Mexico’s soccer team’s

historical, cultural, and psychological journey to the World Cup.

         2.       Defendant MTV Networks Latin America, Inc. (hereinafter “MTVNLA”) owns

and operates television channels in Latin America under the brand name MTV and Nickelodeon

Latin America and streaming services Paramount+ and Pluto TV. It is based in Miami, Florida

and is a subsidiary of the massive media conglomerate, Paramount Global.

         3.       On or around October 5, 2022, Poquelin and MTVNLA entered into a written

license agreement (hereinafter the “License Agreement”), wherein MTVNLA licensed the

valuable right to distribute the Series in Latin America for a period of three years in exchange

for, inter alia, a license fee of $250,000. 1 The Series was well-positioned and ready to be

released during the height of excitement and anticipation created by the 2022 FIFA World Cup

in Qatar, which took place from Nov 20, 2022 to Dec 18, 2022, and included the participation of

the Mexican national soccer team.

         4.       But MTVNLA’s contractual breaches and bad-faith conduct destroyed Poquelin’s

unique opportunity to release the Series that it worked so hard to create during the height of the

World Cup excitement. Specifically, on December 22, 2022, nearly six weeks after MTVNLA


    1
       The License Agreement contains a confidentiality clause and is therefore not attached to this Complaint out
of an abundance of caution. Upon filing, Poquelin will request that MTVNLA consent to the public filing of the
License Agreement or will ask that MTVNLA move to lodge and file the document under seal.




                                                        -2-
               Case 1:23-cv-01922-CM Document 1 Filed 03/06/23 Page 3 of 11




should have made payment to Poquelin for the license fee and after the conclusion of the World

Cup, MTVNLA illegally and improperly purported to terminate its License Agreement with

Poquelin and refused to pay the $250,000 license fee that MTVNLA unambiguously owes under

the License Agreement.

          5.      The purported basis for the “termination” is that MTVNLA received two

unsubstantiated “takedown notices” from third-parties claiming to own a few minutes of content

used in the 230-minute Series. Although Poquelin disputed and continues to dispute the validity

of any assertions made in the takedown notices, it nonetheless immediately removed the

extremely small amount of disputed content covered by the notices from the Series to prevent

any potential claims and re-delivered the Series to MTVNLA.

          6.      But Poquelin’s actions did nothing to convince MTVNLA to retract its

termination of the License Agreement. MTVNLA already decided that it would try to exit the

License Agreement. MTVNLA believed it could bully a small Mexican company into

submission.

          7.      MTVNLA has miscalculated. Poquelin will not allow MTVNLA’s bad faith,

illegal conduct, and biased attitude towards a Mexican company go unchecked. Poquelin brings

this case to seek justice from the United States courts and remedy MTVNLA’s clear contractual

breach.

                                              PARTIES

          8.      Poquelin is a corporation that is incorporated in Mexico and has its principal

place of business in Nuevo León, México.

          9.      MTVNLA is a corporation that is incorporated in Delaware and has its principal

place of business in Miami, Florida.




                                                  -3-
          Case 1:23-cv-01922-CM Document 1 Filed 03/06/23 Page 4 of 11




                                JURISDICTION AND VENUE

       10.     This Court has diversity jurisdiction over this matter pursuant to 28 U.S.C.

§ 1332(a). Poquelin and MTVNLA are citizens of different states and the amount in

controversy exceeds $75,000. Specifically, Poquelin is a citizen of Mexico. MTVNLA is a

citizen of Delaware and Florida for diversity purposes.

       11.     The Parties agreed that New York is the exclusive jurisdiction for any dispute

arising out of the License Agreement. The Parties also agreed that New York is the exclusive

venue to litigate any dispute arising out of the License Agreement.



                                  STATEMENT OF FACTS

       12.     On or around October 5, 2022, the Parties entered a License Agreement wherein

MTVNLA licensed the right to distribute the Series in “the Territory” (comprised of Latin

American countries) for a period of 36 months. MTVNLA agreed to pay Poquelin a total of

$250,000 for the license. Payment of $62,500.00 of the license fee was due on or before 30 days

after execution of contract – specifically November 7, 2022 – and the remaining $187,500.00

was due on or before 30 days after first payment and acceptance of delivery of materials –

specifically, December 6, 2022.

       13.     Section 15.1 of the License Agreement provides the limited grounds upon which

the License Agreement could be terminated for breach. It states:

               Either Party may terminate this Agreement upon written notice in
               the event that (i) the other party materially breaches this Agreement
               and such breach is not substantially cured within thirty (30) days
               following written notice of such breach; or (ii) the other party
               becomes the subject of a voluntary or involuntary petition in
               bankruptcy or any proceeding in any jurisdiction relating to




                                               -4-
          Case 1:23-cv-01922-CM Document 1 Filed 03/06/23 Page 5 of 11




               insolvency, receivership, liquidation or composition for the benefit
               of creditors that is not dismissed within sixty (60) days. In addition,
               if MTVNLA entirely discontinues operation of the Licensed
               Service, in whole or in part, MTVNLA shall be entitled to terminate
               this Agreement upon sixty (60) days’ prior written notice to
               Programmer.

Id. at § 15.1 (emphasis added).

       14.     On or around October 23, 2022, Poquelin delivered to MTVNLA the materials

specified in the License Agreement.

       15.     The first installment of the license fee payment, $62,500.00, should have been

paid by MTVNLA on November 7, 2022, but the date came and went without any payment from

MTVNLA.

       16.     Instead of paying on time, on or around November 16, 2022, MTVNLA notified

Poquelin that the Mexican Football Federation (“MFF”) had expressed concerns regarding

whether certain footage in the Series was owed by MFF.

       17.     On or around November 19, 2022, Poquelin sent MTVNLA its licensing

agreement with the Fédération Internationals de Football Association (“FIFA”), which Poquelin

believed authorized use of the content at-issue.

       18.     On November 23, 2022, however, Poquelin notified MTVNLA that it would be

removing the disputed footage because the disputed footage was only approximately three

minutes in length and because Poquelin wanted to resolve any concerns by MTVNLA.

       19.     On November 28, 2022, despite Poquelin’s prior notification that it had removed

the disputed footage from the Series and re-delivered, newly edited episodes to MTVNLA,

MTVNLA nonetheless sent Poquelin formal correspondence (the “Notice Letter”) that the MFF

sent MTVNLA a takedown notice of the Series.




                                                   -5-
             Case 1:23-cv-01922-CM Document 1 Filed 03/06/23 Page 6 of 11




           20.   In the Notice Letter, MTVNLA also notified Poquelin that Peermusic sent

MTVNLA a takedown notice regarding music in a promotional trailer for the Series. MTVNLA

requested that Poquelin provide MTVNLA any and all licenses related to the Series that may be

owned by the MFF and all licenses related to the elements used in the Series’ promotional

trailer.

           21.   On November 28, 2022, Poquelin again reiterated that any disputed footage from

MFF had been removed and replaced in the Series.

           22.   Poquelin requested that MTVNLA provide an actual copy of the takedown

request from the MFF. Poquelin wanted to see an actual copy of the takedown request to

evaluate its veracity because the MFF is a highly troubled organization with a documented

history of corrupt conduct and had potential motivation to cause harm to Poquelin. Despite

Poquelin’s request for the takedown notice, MTVNLA never provided Poquelin with an actual

copy of the takedown notice from MFF.

           23.   On November 29, 2022, Poquelin responded to MTVNLA with formal

correspondence from Mr. Kalife, stating as follows:

                 I am writing in response to your letter dated November 28th,
                 regarding the two takedown notices received for the licensed series
                 “Mexico: Campeon Del Mundo”. These are in relation to
                 approximately 3 minutes of archive footage claimed by the Mexican
                 Football Federation (“MFF”) out of the 230 minutes in total that
                 compose the above mentioned series; and the song titled “Afuera”,
                 claimed by Peermusic Ltd., used in one the three trailers edited to
                 promote the series. Both of these issues have been corrected with
                 the master files delivered between November 25th and November
                 28th as explained in the following paragraphs.

                 Regarding the claim from the MFF, theses images have been
                 replaced after being informed of such claim by telephone call by
                 Mariana Velazquez on November 20th. All these materials were
                 substituted with archive film by our company and/or purchased by
                 footage providers.




                                                -6-
          Case 1:23-cv-01922-CM Document 1 Filed 03/06/23 Page 7 of 11




               Attached are the licenses, invoices and corresponding documents to
               back this, per the email sent to Mariana Velazquez and Giordi
               Valdivia on November 28th.

               With relation to the claim from Peermusic Ltd. to the song "Afuera",
               our company has paid the music synchronization license to use such
               song in the series per the invoice and wire transfer instructions from
               September 9th (both attached), having edited the trailer with
               segments from it. However, to avoid further discussions and clear
               the claim as soon as possible, we have re-edited the trailer with a
               new song and replaced it in both Viacom's server and all of the
               websites and social media accounts that our company manages.

               Having corrected these issues, both MFF and Peermusic Ltd. should
               by no means maintain claims to takedown the series and/or trailer,
               as there is no footage and/or music used whatsoever that is under
               their ownership or rights control. Any pending and/or future claims
               to your company regarding the series "Mexico: Campeon del
               Mundo" should be directed to my firm, Poquelin S.A. de CV, per
               the Licensing Agreement signed between our companies
               on October 5th, 2022.

               We apologize for any inconveniences this might have caused. We
               look forward to seeing the series up again on Paramount+ and Pluto
               TV, please let us know if and how we can assist in the process to
               reestablish it.


       24.     The correspondence from Poquelin resolved any issues and disputes raised by the

takedown notices.

       25.     Nonetheless, on November 30, 2022, MTVNLA notified Poquelin that it was still

refusing to exhibit the Series on its channels or streaming services.

       26.     On December 1, 2022, Poquelin again reiterated that it had performed a

comprehensive check of all footage and materials in the Series to make sure there would be no

further takedown notices.

       27.     MTVNLA failed to pay the second installment of the license fee payment,

$187,500.00, due on December 6, 2022.




                                                -7-
            Case 1:23-cv-01922-CM Document 1 Filed 03/06/23 Page 8 of 11




          28.   Nonetheless, on December 7, 2022, Poquelin participated in good faith in a Zoom

conference with MTVNLA wherein Poquelin again explained the measures it had taken to

ensure that no further takedown notices would be sent. Poquelin also provided a comprehensive

spreadsheet to MTVNLA listing all of the content in the Series, time codes for each, source

references and releases.

          29.   Despite all of Poquelin’s good faith conduct and efforts, on December 22, 2022,

however, MTVNLA notified Poquelin that MTVNLA had decided to unilaterally terminate the

License Agreement (the “Termination Letter”).

          30.   In the Termination Letter, MTVNLA explained that it would not broadcast the

Series.

          31.   MTVNLA cited Section 8.2 of the License Agreement to support its termination.

Section 8.2 states:

                As of the date of this Agreement, Grantor hereby represents and
                warrants that there are no pending third-party trademark
                applications, registrations, claims, actions or the like against any
                Series or any elements thereof. Grantor shall take all steps, at
                Grantor’s expense, to protect all trademarks pertaining to the Series
                from infringement and Grantor agrees that it will institute such
                action and proceedings to prevent any unauthorized use,
                reproduction, exhibition or exploitation by third parties of any Series
                or any party thereof or the material on which the Series is based
                which may be in contravention of the rights granted to MTVNLA
                hereunder. If at any time during the License Period, MTVNLA’s
                rights to any Series are limited in any way due to any third-party
                claim (including, without limitation, a claim based on a prior
                trademark registration) MTVNLA shall have the unilateral option to
                terminate this Agreement in whole or in part as to a particular Series,
                which right shall in no way limit MTVNLA’s rights otherwise
                available to it, at law or in equity, for Grantor’s breach of this
                Agreement.


See at § 8.2.




                                                 -8-
             Case 1:23-cv-01922-CM Document 1 Filed 03/06/23 Page 9 of 11




        32.     MTVNLA’s failure to pay any portion of the license fee when due and election to

unilaterally terminate the License Agreement on December 22, 2022 are clear breaches of the

License Agreement.

        33.     First, MTVNLA has been granted “the exclusive right and license to exhibit,

distribute, transmit, telecast and perform the Series on a Linear and Non-Linear Exhibition basis

including SVOD and AVOD, in the Territory . . . . ” None of these rights have been “limited”

by the “takedown notices.”

        34.     Second, there has been no adjudication that the takedown notices were proper or

justified.

        35.     Third, even assuming the takedown notices were proper and/or justified, Poquelin

removed and replaced the small amount of content at-issue. Poquelin did so even after

providing MTVNLA proof that it lawfully obtained licenses to use the content at-issue.

        36.     On January 20, 2023, pursuant to Section 15 of the License Agreement, Poquelin

provided formal notice of breach to MTVNLA and gave it an opportunity to cure its breach by

paying the license fee.

        37.     On February 17 and 21, 2023, however, counsel for MTVNLA notified Poquelin

that it would not pay the license fee and was proceeding with its termination of the License

Agreement.

        38.     Poquelin now seeks adjudication from this Court that MTVNLA breached the

License Agreement by unilaterally terminating the License Agreement without cause, as defined

in Section 8 of the License Agreement, and without providing Poquelin the requisite opportunity




                                               -9-
            Case 1:23-cv-01922-CM Document 1 Filed 03/06/23 Page 10 of 11




to cure any alleged breach of the License Agreement, as required by Section 15 of the License

Agreement.

                                            COUNT I
                                 (Breach of Written Contract)

          39.   Poquelin incorporates by reference and repeats and realleges paragraphs 1

through 38 of this Complaint above as if fully set forth herein.

          40.   Poquelin and MTVNLA entered into the License Agreement on October 5, 2022.

          41.   Under the License Agreement, Poquelin licensed the Series to MTVNLA.

          42.   MTVNLA has failed to pay any portion of the license fee when due and

improperly terminated the License Agreement

          43.   Poquelin has performed all conditions, covenants, and promises required of it

under the License Agreement.

          44.   Poquelin seeks damages in the amount of $250,000 as a result of MTVNLA’s

breach.

                                    PRAYER FOR RELIEF

          WHEREFORE, based on the foregoing, Poquelin prays for judgment against

MTVNLA as follows:

          A.    Finding that MTVNLA’s unilateral termination of the License Agreement

constitutes a breach of the License Agreement; and

          B.    An award of damages in the amount of $250,000 for MTVNLAs breach;

          C.    Awarding Poquelin prejudgment interest;

          D.    Awarding Poquelin all costs incurred in this action; and

          E.    Granting Poquelin any and all such further and other relief as this Court deems

just and proper.



                                               -10-
       Case 1:23-cv-01922-CM Document 1 Filed 03/06/23 Page 11 of 11




Dated: March 6, 2023       /s/ Vanessa Destime

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                                    -11-
